      Case 11-32602-hdh7 Doc 1044 Filed 06/01/22                 Entered 06/01/22 08:44:58      Page 1 of 1




 The following constitutes the ruling of the court and has the force and effect therein described.


 Signed May 31, 2022
                                            United States Bankruptcy Judge
______________________________________________________________________


BTXN 210 (rev. 05/16)
                                      UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF TEXAS


In Re:                                                      §
Mukki LLC                                                   §    Case No.: 11−32602−hdh7
                                                            §    Chapter No.: 7
                                          Debtor(s)         §


        ORDER DENYING APPLICATION FOR PAYMENT OF UNCLAIMED FUNDS
    The Court finds that E.I. du Pont de Nemours and Company filed an Application for Payment of Unclaimed
Funds on 04/27/2022 in the amount of $62,575.45.

      The Court, after review of the application, finds:

     no funds are on record for the claimant
     no documents of proof are provided with the application
     insufficient documentation has been provided with the application
     required Form AO 213 not provided with the application
     the application was not served on the US Attorney
     Other: 1) Proof of creditor's prior address at time of bankruptcy filing not
     provided.
     2) Funds are held in C/O Joanne McDonough.
     3) Statement of signing agent's authority (Exhibit F − Authorization Letter)
     is not current and does not contain original wet ink signatures for Treasurer
     and notary.


      It is therefore ORDERED that the Application for Payment of Unclaimed Funds is denied without prejudice.

                                                 # # # End of Order # # #
